                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION


 VetBridge Product Development Subsidiary I
 (NM-OMP), LLC,

                       Plaintiff,
                                                     Civil Action No. 5:18-cv-06147-BCW
                v.

 NewMarket Pharmaceuticals, LLC,

                       Defendant.


 NewMarket Pharmaceuticals, LLC,

                       Third-Party Plaintiff,

                v.

 VetPharm, Inc.,

                       Third-Party Defendant.


               VETPHARM, INC.’S MOTION TO DISMISS THE
          THIRD-PARTY COMPLAINT OR TO COMPEL ARBITRATION

       Third-party defendant VetPharm, Inc. (“VetPharm”) hereby moves the Court for an order,

pursuant to Rules 9(b), 12(b)(2), 12(b)(6), and 14(a)(4) of the Federal Rules of Civil Procedure

and Section 4 of the Federal Arbitration Act (9 U.S.C. § 4), dismissing the third-party complaint

filed by defendant and third-party plaintiff NewMarket Pharmaceuticals, LLC (“NewMarket”) or

compelling arbitration of NewMarket’s third-party claims. VetPharm relies on its suggestions in

support of this motion, which are filed concurrently herewith.




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Dated: April 29, 2019

                                                     Respectfully submitted,

                                                     TIEMAN, SPENCER & HICKS, LLC


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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 29, 2019, I electronically filed the foregoing with the Clerk
of the Court and that an electronic notice of filing and a copy of the foregoing will automatically
be sent to all counsel of record in this matter via the Court’s ECF filing system.


                                                            /s/ Lee C. Tieman
                                                         Lee C. Tieman




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